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                          UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF CONNECTICUT

                                                   )
In re                                              )           Chapter 7, No. 24-50459-JAM
                                                   )
EBONIQUE NICOLE ALLEN                              )
                                                   )
                        Debtor                     )
                                                   )


                ASSENTED TO MOTION TO EXTEND TIME TO OBJECT
                           TO DEBTOR’S DISCHARGE


To the HONORABLE JULIE A. MANNING, Bankruptcy Judge:


        Now comes George I. Roumeliotis, the duly appointed, qualified and acting Trustee in
the above-captioned proceedings (“Trustee”), and moves this Honorable Court for an Order
extending the time for objecting to the Debtor’s discharge. In support of this Motion, the Trustee
respectfully represents as follows:


        1. On June 28, 2024, the above-named Debtor filed a Voluntary Petition under the
provisions of Chapter 7 of the Bankruptcy Code, after which the undersigned was appointed as
Chapter 7 Trustee for the above-entitled estate.


        2. The Section 341 meeting was originally scheduled for July 24, 2024, but was
continued in advance to August 7, 2024 due to a scheduling conflict for Debtor’s counsel. The
meeting took place on August 7th, at which the Trustee requested additional documents, and
continued the meeting to September 11, 2024 for said documents. Some of the requested
information was provided prior to the continued meeting, but there are still items outstanding.
The deadline for objecting to the Debtor’s discharge is presently September 23, 2024.


        3. Until the Debtor has provided all of the requested information, and has otherwise fully
cooperated with respect to her duties under Section 521, and the Trustee has had an opportunity
to fully review said information, the Trustee believes that the deadline for objecting to her



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discharge should be extended. The Trustee has requested that the Debtor assent to an extension
through the end of December 2024, which assent has been provided.


       4. Accordingly, the Trustee hereby requests that the deadline for objecting to the
Debtor’s discharge be extended to Tuesday, December 31, 2024, and that such extended deadline
be applicable to the Trustee and the Office of the U.S. Trustee. As indicated below and as
discussed above, the Debtor, through her counsel, assents to this request.


       WHEREFORE, the Trustee respectfully requests that the date for objecting to the
discharge of the Debtor be extended to December 31, 2024.


                                               GEORGE I. ROUMELIOTIS,
                                               CHAPTER 7 TRUSTEE
Dated: September 23, 2024
                                           By: /s/ George I. Roumeliotis
                                              George I. Roumeliotis, Esq.
                                              (CT17532)
                                              For Roumeliotis Law Group, P.C.
                                              157 Church Street, 19th Floor
                                              New Haven, CT 06510
                                              Tel. (203) 580-3355
                                              george@roumeliotislaw.com


                                               Assented to by Debtor:

                                               EBONIQUE NICOLE ALLEN
Dated: September 23, 2024
                                          By: /s/ Jesse C. Clark
                                              Jesse C. Clark, Esq.
                                              Recovery Law Group
                                              83 Wooster Heights Road, Suite 125
                                              Danbury, CT 06810
                                              Tel. (860) 836-7881
                                              jclark@recoverylawgroup.com




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                          UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF CONNECTICUT

                                                  )
In re                                             )           Chapter 7, No. 24-50459-JAM
                                                  )
EBONIQUE NICOLE ALLEN                             )
                                                  )
                        Debtor                    )
                                                  )


                   ORDER EXTENDING DEADLINE FOR OBJECTING
                           TO DEBTOR’S DISCHARGE

        Upon the Assented to Motion of George I. Roumeliotis as Chapter 7 Trustee seeking to
extend the deadline for objecting to the discharge of the Debtor, it is hereby


        ORDERED, that the deadline for the Trustee and the Office of the U.S. Trustee to object
to the discharge of the Debtor is hereby extended to December 31, 2024.




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                           UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF CONNECTICUT

                                                    )
In re                                               )           Chapter 7, No. 24-50459-JAM
                                                    )
EBONIQUE NICOLE ALLEN                               )
                                                    )
                          Debtor                    )
                                                    )

                                   CERTIFICATE OF SERVICE

        I, George I. Roumeliotis, Chapter 7 Trustee in the above-referenced case, of 157 Church
Street, 19th Floor, New Haven, Connecticut, do hereby certify that on this 23rd day of
September, 2024, I served a copy of the Assented to Motion to Extend Time to Object to
Debtor’s Discharge and proposed Order, by first class mail, postage prepaid, to any of the below-
listed parties that did not otherwise receive notice thereof through the Court’s ECF system,
unless otherwise noted:

        Holley Claiborn, Esq.
        Office of the U.S. Trustee
        150 Court Street, Room 302
        New Haven, CT 06510

        Jesse C. Clark, Esq.
        Recovery Law Group
        83 Wooster Heights Road, Suite 125
        Danbury, CT 06810
        (Debtor’s counsel)

        Ms. Ebonique Nicole Allen
        56 Sunshine Circle
        Bridgeport, CT 06606
                                               /s/ George I. Roumeliotis
                                               GEORGE I. ROUMELIOTIS, ESQ.
                                               (CT17532)
                                               For ROUMELIOTIS LAW GROUP, P.C.
                                               157 Church Street, 19th Floor
                                               New Haven, CT 06510
                                               Tel. (203) 580-3355
                                               george@roumeliotislaw.com



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